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US. ~ rt ~N.D. OF NLY.
UNITED STATES DISTRICT COURT DEC 13 2010
NORTHERN DISTRICT OF NEW YORK 1
Toy ) INNeareOCLOCK
1 ty Plaintiff(s) ) CCEUTIS B Re REY Ger - Syracuse}
) COMPLAINT PURSUANT
vs. . +) PURSUANT TO
6Ficee C.RdoQkyi ) 42 U.S.C. § 1983
oe co. Hann )
Colom. RQiay T i \Cheg Defendant(s) )- Case No. 9: CV
Plaintiff(s) demand(s) a trial by: .“”_ JURY ___ COURT (Select only one).

Plaintiff(s) in the above-captioned action, allege(s) as follows:

JURISDICTION

l. This is a civil action seeking relief and/or damages to defend and protect the rights

guaranteed by the Constitution of the United States. This action is brought pursuant to

42 U.S.C. § 1983. The Court has jurisdiction over this action pursuant to ~

28 U.S.C. §§ 1331, 1343(3) and (4) and 2201.

PARTIES

2, Plaintiff: _"72Y_ Sims it) 8

Address: Aghutny Cope. FAG.

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Additional Plaintiffs may be added on a separate sheet of paper.
3. a. Defendant: C, RosKi;
Official Position: Coe, ofticep
Address: Geext meaditas Cove. INU
Roy SI
comstacl, wl. /282/

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b. Defendant: C. St dew
Official Position, _ Gey OC cee.
Address: Cocxt Wieabl) Cove. FAC:
Rox S|
ComStou, N.Y. 12k

C. Defendant: RR KY S Chee,

Official Position: Comeuss: OW

offoe S ou wpton AVS
Albany, NY. 12224

Additional Defendants may be added on a separate sheet of paper.

4. PLACE OF PRESENT CONFINEMENT

a. Is there a prisoner grievance procedure at this facility?
uw Yes No
b. If your answer ro 4a is YES, did you present the facts relating to your complaint in

this grievance program? _

if Yes No

If your answer to 4b is YES,

(i) ~~ What steps did you take? 2 tigkl A GRIEVANCE

(ii) | What was the final result of your grievance? Ayp CA } U/AS

denied

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If your answer to 4b is NO - why did you choose to not present the facts relating
to your complaint in the prison’s grievance program?

If there is no grievance procedure in your institution, did you complain to prison
authorities about the facts alleged in your complaint?

Yes . No

If your answer to 4c is YES,

(i) What steps did you take?

(ii) | What was the final result regarding your complaint?

If your answer to 4c is NO - why did you choose to not complain about the facts
relating to your complaint in such prison?

5. PREVIOUS LAWSUITS

Have you ever filed any other lawsuits in any state and federal court relating to
your imprisonment?

Yes 4 No

If your answer to 5a is YES you must describe any and all lawsuits, currently

pending or closed, in the space provided below.

For EACH lawsuit, provide the following information:

i.

Parties to previous lawsuit:

Plaintiff(s):

Defendant(s):

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. aA

il. Court (if federal court, name District; if state court, name County):
iil. Docket number:

Iv. Name of Judge to whom case was assigned:

Vv. Disposition (dismissed? on appeal? currently pending?):

vi. Approximate date of filing prior-lawsuit:

vii. | Approximate date of disposition: _.

6. FACTS

Set forth the facts of your case which substantiate your claim of violation of your civil
and/or Constitutional rights. List the events in the order they happened, naming defendants
involved, dates and places.

Note: You must include allegations of wrongful conduct as to EACH and EVERY
defendant in your complaint.. (You may use additional sheets as necessary).

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7. CAUSES OF ACTION

Note: You must clearly state each cause of action you assert in this lawsuit.

FIRST CAUSE OF ACTION
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SECOND CAUSE OF ACTION
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THIRD CAUSE OF ACTION |
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Fourth CAUSE of ACTION

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8 PRAYER FOR RELIEF

WHEREFORE, plaintifi(s) request(s) that this Court grant the following relief:
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ever the Courts deem dust cud prooer

I declare under penalty of perjury that the foregoing is true and correct.

Apalonit

Signature of Plaintiff(s)
(all Plaintiffs must sign)

DATED: Ga} >o10

02/2010

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